Case 24-10885 Doci129 Filed 03/11/25 Entered 03/11/25 15:31:34 Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF MASSACHUSETTS

In re:
John Malone Chapter 13
Debtor(s) 24-10885-CJP
PROCEEDING MEMORANDUM AND ORDER
MATTER:

Hybrid Hearing on #106 Motion filed by Debtor John Malone for Sale of Property free and clear of
liens under Section 363(f) Re: 26 Savin Hill Avenue, Dorchester, MA.

Decision set forth more fully as follows:

HYBRID HEARING HELD. A STATUS CONFERENCE IS SCHEDULED ON MARCH 25, 2025 AT
1:00 P.M. INCOURTROOM 3, UNITED STATES BANKRUPTCY COURT, 595 MAIN STREET,
WORCESTER, MA, WITH AN OPTION FOR PARTIES IN INTEREST TO APPEAR BY ZOOM
VIDEO. PARTIES IN INTEREST SHALL EMAIL THE COURTROOM DEPUTY AT
CJP_COURTROOM_ DEPUTY@MAB.USCOURTS.GOV NO LATER THAN MARCH 24, 2025 AT
4:30 P.M. PROVIDING THE CONTACT INFORMATION FOR THE PARTY SEEKING TO
APPEAR BY VIDEO.

Dated: 03/11/2025 By the Court,

Kile J. then

Christopher J. Panos
United States Bankruptcy Judge

